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                                                                   May 3, 2023

Via ECF
The Honorable Arlene R. Lindsay
United States Magistrate Judge for the
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

           Re:             Zaldivar v. Levent Company, Ltd., et al.,
                           Docket No.: 22-cv-00065(GRB)(ARL)

Dear Judge Lindsay:

        We represent Defendants Levent Company, Ltd. d/b/a Shish Kebab Grill and Muslum
Levent (“Defendants”) in the above-referenced matter. We write in response to Plaintiff’s
counsel’s letter filed on April 27, 2023, ECF No. 12, to provide the Court with further information.
As Plaintiff correctly notes therein, on January 24, 2023, the undersigned filed the parties’ joint
status report requesting that the Court refer the parties to the EDNY mediation program, advising
of their selection of mediator, Patrick McKenna, Esq., and requesting sixty days from the date of
such referral to complete mediation, ECF No. 11, which the Court granted the following day. See
Electronic Order dated January 25, 2023. Thereafter, the parties attempted to confirm a mediation
date.

        Unfortunately, Defendants were unable to confirm any such date because of the tragic
earthquake in Turkey in early-February 2023, where Defendant Levent has family. As a result,
Defendants have sporadically been in contact with their counsel. Our last contact with Defendants
was in early-March 2023 and, since then, Defendants have ceased communication with their
counsel. Accordingly, should Defendants continue to fail to cooperate, Defendants’ counsel
intends to file a motion seeking leave to withdraw as Defendants’ attorneys of record pursuant to
Local Rule 1.4 of the Local Rules of the United States District Courts for the Southern and Eastern
Districts of New York on or before May 12, 2023.
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      We thank the Court for its time and attention to this matter.

                                            Respectfully submitted,

                                            FRANKLIN, GRINGER & COHEN, P.C.


                                            ____________________________________
                                            Danielle E. Mietus, Esq.

C:    All Counsel of Record (via ECF)




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